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EXHIBIT Y

 

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2 AMERICAN ARBITRAT:@N ASSQCIATION
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4 AMERICAN :NTERNATIONAL §PEC:ALTY

5 LINES INSURANCE COMPANY,

6 f Claimant-
7' Counter Respondent,
8 - against -

9 THE UPPER DECK COMPANY, RICHARD P.

10 MCWILLIAM, and the MPR REVOCABLE TRUST,

11 ~ Respondents-
12 - Counter Claimants.
13 ------¥ -------------------------------- X
14 780 Third Avenue
New York, New York
15
October 13, 2006
16 10:05 a.m.

17 B E F O R E:

18 JOHN F. BYRNE, Chairman
19 STEPHEN D. KRAMER, Arbitrator
20 CHARLES J. MOXLEY, JR., Arbitrator
21
22 MELISSA GILMORE, Reporter
23 ELLEN GRAUER COURT REPORTING CO. LLC
126 East 56th Street, Fifth Floor
24 New York, New York 10022
. 212~750-6434
25 ` REF: 82080

 

 

 

           

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CHAlRMAN BYRNE: Good morningl
everyone. Thank you again for being so
prompt lt is my understanding that what
we are going to try to do today is adjourn
at 3:00, or as close thereto as we
possibly can. That means we are -- we are
scheduling -~ we have scheduled about two
hours or so with you in the moming, a
lunch break, and we have got another
victim coming in a little bit |ater.

Mr. Burke, thank you. You can
assume that we have read the report As a
colleague, l will not swear you in as a
witness.

Keep in mind that we have read your
report Your opinion is your opinion. lt
is not accepted --it is not being
accepted under the Federal Rules of
Evidence standard, such that we must view
it, as in some instances, dispositive as a
scientific fact or something like that.

Every lawyer has an opinion.
In this kind of situation, it is the

panel's position, based on the dispute,

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that really is most important And what
we are looking to you, as we have to
another expert, is the persuasiveness of
your opinion or your analysis and as a
guide for us in terms of going through the
analysis

That said, don‘t feel you have to
defend the report or what you have done.
l'm basically going to limit much of the
questioning to what's it based onl what
did you do, what did you review because
there are some questions -- peripheral
questions that are out there. And explain
to us, respond to questions if we flip
some hypotheticals or whatever, that's
what we are about today. That said, you
are going to begin the questioning, Mr.
Kushner?

MR. KUSHNER: Yes, lwi|| be brief.

CHAlRMAN BYRNE: You have been
threatening that now for four days, and
you have succeeded every time. Proceed,
Mr. Kushner.

MR. KUSHNER: l can only hope.

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CHAlRMAN BYRNE: You can proceed.
EXAMINAT|ON
BY MR. KUSHNER:

Q. Mr. Burke, on page 11 of your
report, Footnote 16 states, "lt is my
understanding that taxpayers, who engaged in at
least eight to ten SLCZ transactions, is
currently anticipating litigating the matter
with the lRS." What‘s the source of your
information for that footnote?

A. That is discussions with Charles
Rettig, who is counsel who represents 30 some
odd of the -- initially represented 30 some odd
of the SC squared participants, and it's based
on conversations l had with him just about the
time l was preparing this report So -- and
you know, that is just his client base. So
there are another 20 some odd taxpayers out
there that don‘t know exactly where they stand.
So just on the 34 or so l think that he
represented, that he is indicating that eight
to ten of them are likely to go to litigation

Q. |Vlr. Burke, do you have an opinion

concerning whether, under existing case law and

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Burke
the statutes and regulations, the 302
transaction structured -- as structured in this
case, originally structured in this case, would
have succeeded?

A. Yes, lthink, as spelled out by
KPMG, when l refer to them in my report as the
"generic SC squared transaction," done as
anticipated as a technical matter, l think the
case was very likely to be upheld if litigated

CHAlRMAN BYRNE: You have to keep
your voice up a little.

THE W|TNESS: Okay.

CHAlRMAN BYRNE: Thank you.

Q. And if a nontax lawyer were to
approach you and say, "lt seems too good to be
true," what would your response be?

A. My response is that's not the tax
test, and a lot of people believe it is the tax
test, You know -- and the report goes in --
and everybody's report, all the experts‘
reports, go into the economic substance which
is, to some extent, looks at whether things are
too good to be true, but that's not what they

ultimately look at.

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There are lots of circumstances in
the tax law where things are too good to be
true. A couple of examples, short sales
against the boxl which you people probably
heard of, may not understand exactly what they
are, that's now been repealed by Congress, but
if you wanted to sell your stock and you didn't
want to pay tax this year. You want to --
MR. WAHLQU|ST: l object This is
nowhere in any of the report
CHAlRMAN BYRNE: He is giving it as
an example of things being too good to be
true. You can proceed
THE WlTNESS: You know, you borrow
someone else's security. You sell it.
You don't pay gain when you sell it. You
have all the proceeds. You pay a gain the
next year when you close the transaction
by giving your shares back to the person
you borrowed it from.
lf there is ever a circumstance
where you get a tax result that is too
good to be true, that would be one, but it

was one the lRS, not on|y, you know,

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Burke
agreed with, they actually had regulations
that described what the parties‘ tax
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Another -- and l don't want to go
through unless someone wants me to, a lot
of examples, but a very key example close
to this transaction is prior to, you know,
the late 1990s, the only people who could
be shareholders of S corporations were
individuals

Congress changed the law to allow
tax exempts to be shareholders as well,
and it was that change in law that allowed
the SC squared transaction to go forward.
But Congress, when they did that, they
opened the flood gates too widely.

And in particular, there were
circumstances where people could set up
things called ESOPs, Emp|oyee Stock
Ownership P|ans to own the shares of their
S corporation where they could sell their
shares, reinvest in public securities

All of the income from the companies

would flow through to the ESOP, which was

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Burke
tax exempt, would never -- wouldn't be
taxed until when the people retired, they
could take out their the earnings from the
Emp|oyee Stock Ownership Plan.

Congress, after noting this, went

- "Oops, we have gone too far." lt was

clearly too good to be true_ That's what
the statute said, and the fix to it was,
Congress went back and changed the
statute So l mean there are -- l could
list enumerable circumstances.

CHAlRMAN BYRNE: That's enough. The
one follow-up is in an instance where
Congress goes back to close the loophole,
and l don't mean this in a technical
sense. Are the taxpayers who took
advantage of the loophole, nonetheless,
safe harbor in the sense that their
transactions that occurred within the
loophole »-

THE W|TNESS: Um~hum.

CHAlRMAN BYRNE: ~ are nonetheless
good? lVlay be challenged but they are

nonetheless good, notwithstanding that the

578

Burke

loophole has been closed?

THE W|TNESS: l'm not sure l could
give a generic answer.

CHAlRMAN BYRNE: Or does the |RS and
the courts view the closing cf the
loophole as evidence that it wasn't
intended in the first place? That‘s the
distinction

THE W|TNESS: Yes, right, and like l
said, l'm not sure there is a -- one
answer that fits all circumstances And
the one l cited about the Emp|oyee Stock
Ownership P|an, that one was -~ you know,
was intended not to say anything about
whether it worked previously. To my
knowledge, the lRS has not tried to
challenge circumstances where people did
it as a result of the legislation. People
had to undo theirtransactions so they had
to get out of it, but sometimes ~- and
Congress will say in the legislative
history speciica|ly whether they intend
to have any implications as to whether the

transaction, you know, worked prior to the
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Burke
change in the law.

So it A~ sometimes, people are save
harbored or grandfathered. Sometimes,
they are not. lt depends on exactly what
it is. That particular examp|e, l
believe, they were practically safe
harbored

ARBlTRATOR MOXLEY; Let me back up
for a second lVlr. Burke, l want to make
sure l understand something When
lVlr. Kushner asked you what your opinion
is, you indicated that the SC squared
transaction as structured as spelled out
by KPMG, as a technical matter. was likely
to be upheld

And lwant to make sure l understand
what you mean and what one means in this
area when one says "as a technical
matter." l have gotten the impression,
and l'm not sure this is right, that
sometimes, "as a technical matter" means
based on looking at specific code and reg
provisions, as opposed to application of

fairness doctrines But l don't know if

580

Burke
that's what you mean, so l'm asking.

THE WlTNESS: What l mean is, ifa
taxpayer came in to me as a tax advisor
and said, "Here is the transaction we
dreamt up. We did this, or we are going
to do this. Do you think it would work?
Do you think it would be upheld by a
court?" All right.

To that, lwou|d say in the SC
squared transaction, yes. Under the
statute and the case law, as it exists
then, as it exists now, l think it would
be uphe|d.

And what l pointed out in my report
just to be aware of, you know, there is a
flavor as a result of this being a
promoted transaction, which introduces a
wild card that l don‘t know how to assess
A one op transaction, one taxpayer did
this on its own initiative without
somebody bringing the case to them, you
know, lthink the |RS would be exceedingly
hard challenged to prevail if they fought
it.

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Burke

ln the context of a promoted
transaction, it obviously introduces a
degree of risk to the taxpayer that l
don't know how you assess it, but it
certainly lowers their prospects of
success

CHAlRMAN BYRNE: Now, in 2006 for
examp|e, or next year. 2000 -- nol l will
leave it in 2006, now that l have at my
disposal the alleged expertise of KPMG and
others that have strategized with respect
to the SC squared transaction and l chose
to do the same transaction now, using the
eminent firm of Mo)<ley and Kramer, is
there anything that prohibits Byrne to do
the same thing with respect to his S corp.
as outlined in the generic SC squared
transaction?

THE WlTNESS: That prohibits it, no,
l don't think so.

CHAlRMAN BYRNE: Now, take the next
step. ls it likely that my transaction
gets tarred with the same brush as the

KPMG marketed product, even though it

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Burke

wasn't?

THE WlTNESS: At this point, yes.

CHAlRMAN BYRNE: Would you say then
that the likelihood of my success, if
contested if l took it through is better
or worse than a transaction before it hit
the fan? |t’s hit the fan. l did the
transaction.

THE W|TNESS: l can't give you the
transaction. Your prospects at this
point, l think, are worse than they would
have been had the KPMG transactions not
come to light, and you know ultimately,
been resolved

ARB|TRATOR MOXLEY: Because it's
listed now, right?

CHAlRMAN BYRNE: Okay. That's what
l'm --

THE W|TNESS: l mean listed is
sounds horrible.

CHAlRMAN BYRNE: But it's ~

THE W|TNESS: We||, it's --in my
view anyway, it's designed lt's a

technique used by the lRS for in terrorem
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Burke
effect, rather than auditing everybody.
lf they just say you do this, you are
going to be in big trouble, it stops a lot
of people from doing it.

An interesting thing about the SC
squared transaction is the standard listed
transaction, the |RS Gnds out about it.
They put out the listed transaction as
soon as they possibly can because they
want to stop it. SC squared, you know, we
know the |RS knew about it, You know,
certainly with the amnesty programl it
took them two years basically before they
listed the transaction.

This is a transaction which, within
the lRS, has been treated significantly
differently than the other tax structured
transactions out there. Two years, maybe
longer, to list it. lf you look at the
KPMG deferred prosecution agreement, it’s
not one of the transactions that's the
subject of that.

You have, you know, the head of

staff of the joint committee on taxation

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Burke
saying "We don't know whether the |RS has
the weapons to challenge it." This is --
and l don't know how much people have seen
of the other listed transactions, they
are, you put your money in over here. lt
kind of goes through a bunch of
transactions usually with some, you know,
fancy financial derivatives and out pops a
loss, you know, 60 days later.

That's clearly not what was going on
here. You know there were real
consequences to these transactions lt
wasn't just a, you know, paper transaction
with financial derivatives that unwound at
the end of a short period of time. So
this a transaction, in my view, that the
|RS has thought long and hard about and
wondered whether they, you know can in
fact, attack it, Even the settlement
proposal is different, as opposed --

CHAlRMAN BYRNE: ln what sense?

THE W|TNESS: Other settlements the
lRS would announce a proposal, all right?

lt was published Everybody knew it.

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Burke
There was no -~ l mean we think of this as
a universal settlement proposal. We don't
know that, What people got were
individual letters lt said, "Here is
your settlement proposa|,"

The only reason we think it's
universal is because we happened to know
most of the taxpayers involved in it, and
we know they all got this letter. But it
was not done through a public
announcement lt was done separately so
that people who took the settlement, you
know, there were no announced statistics
about it like there were in the blip
transactions This is the |RS responding
in a much different manner than they have
in the past.

CHAlRMAN BYRNE: l guess that goes
back to a question that Mr. Kushner asked,
also. Do we know -- do you know -- do we
know, whether the eight to ten
transactions that are being litigated
whether they all are consummated generic

SC squared transactions or do they have

586

Burke
too many wrinkles to it for us to say?

THE WlTNESS: l don't know for sure.
l know some of them are done exactly by
the letter of the opinions, but l don‘t
know any of the details of those cases

ARBlTRATOR MOXLEY: l'm sorry. l_et
me just follow up on one piece ofthis.

CHAlRMAN BYRNE: Oh, sure.

ARB|TRATOR MOXLEY: Mr. Burke, you
referred to the KPMG deferred prosecution
trans -- l guess it's an agreement, or
stip, or tolling agreement Could you
elaborate on that as to what is known as
to governmental action of any kind against
KPMG related to SC squared?

THE W|TNESS: l'm not aware of any
governmental action. Other than the |RS
attacks on the substance of the
transactions but l'm not aware of
anything that the government has alleged
against KPMG or any of its principals

lt is also not one of the
substantive cases that the 17 KPMG

partners and affiliates that are subject
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Burke
to prosecution lt is not one of the
underlying transactions there either.

ARB|TRATOR MOXLEY: And those are
specific?

THE WlTNESS: They are specific.

ARB|TRATOR MOXLEY: There is a list
that's out there.

THE W|TNESS: Yes.

ARB|TRATOR MOXLE¥: And the deferred
prosecution l mean what is a deferred
prosecution? lt's a stipulation or a
tolling agreement, or what?

THE W|TNESS: l mean it is -~ others
may have a better idea than l, but it
is -~ if the KPMG basically desists from
promoting these things and doing other
actions that relate to them for a
stipulated period of time, basically the
threat of prosecution goes away.

lf they persist in promoting them,
or l don't remember all the prohibitions
on exactly what they could and couldn't
do, but it relates to specific

transactions they were involved in, and SC

588

Burke

squared was not one of them. So it's ~
you know it is, it's in essence probation
so to speak. And as long as they don‘t do
the things the government wants ~- you
know, wants to keep them away from, then
the government will not prosecute them for
their behavior for these particular
transactions and the particular
transactions do not include SC squared

ARBlTRATOR MOXLEY: l thought l read
someplace -- maybe l have this wrong ~-
that the group within KPMG that was
promoting shelters of this type was put
out of business by the |RS or one group or
another within the government

THE W|TNESS: Yes.

ARB|TRATOR MOXLEY: What was the --
are the facts in that respect?

THE W|TNESS: We||, l'm not
intimately familiar with all the facts
going on there, but l mean part of what
KPMG agreed to was to disband their branch
of tax advice that did these types of

transactions So you know again, exactly

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Burke

what it was KPMG was prohibited from
doing, or what they agreed to do in return
for, in essence, their prosecution on the
prior acts, l'm not sure what the laundry
list of everything they can't do.

All l was focusing on is the things
that they are immune from prosecution on
do not include the SC squared lt's not
one of the listed things that they were --
you know, that says if you do these right
things, we will not pursue our prosecution
on these half dozen list of transactions

ARB|TRATOR MOXLEY: Do you know
whether or not the SC squared transactions
were part of the basis for the services
obtaining or seeking, and l guess
obtaining, the agreement by KPMG to
disband that branch?

THE W|TNESS: l don't, no.

ARBlTRATOR MOXLEY: Okay. Thank
you.

BY MR. KUSHNER:

Q. Mr. Burke, do you have any opinion

concerning whether the SCZ transaction, as

590

Burke
actually carried out in this case, would have
succeeded?
A. l think it quite unlikely that it

would succeed You know -- and as my report
goes through in detaill the economic substance
transaction -- or Economic Substance Doctrine
tries to look at two different things and
exactly how the things are weighted by courts
varies But one is, is there a change in the
economic position of the parties? And l think
on that front, the SC squared transaction
clearly has a change in the economic position
of the parties

The other aspect of it is the tax
avoidance motive, and what your motivation is.
And the two courts of appeals where the SC
squared transaction would likely be appealed
the Ninth Circuit and Court of Federal Claims,
both seem to say that if you have economic
substance, you are generally okay as long as
your sole motivation is not tax avoidance.

So you need something else, even if
you have a change in economic position of the

parties, that you -- that's generally okay, but
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upper deck-aig arb

Burke

you can't be completely motivated by tax
avoidance. And the concern --the way the
transaction was implemented the repurchase in
particular in 2002, is that in my view, it
significantly undercuts the other motivation,
which is to benefit the Austin Firefighters

This, unlike the other economic
substance cases, all of which look for profit
motive, | mean there is obviously no ability to
have a profit motive when you are making a
donation to a tax exempt entity. So you are
looking for some other motivation other than
pure tax avoidance

And the likely one that l think the
courts would weigh would be your intention to
benefit the donee, the Austin Firefighters, and
in a situation wherein the 2002 repurchase, you
know the exchange of e-mails and correspondence
between the parties, you know in essence,
indicates that Upper Deck was not trying to
benth the Austin Firefighters

ln fact, it was trying to do
everything it could to get the best possible

price, you know, before the Austin Firefighters

592

Burke
found out kind of what the spike in earnings
were for the end of 2002. So that, lthink
substantially undercuts the donative intent, if
you will, as the nontax motive.

The other thing that it-- l think
factors into this that a court might also grasp
onto is, you know, the key to the whole
arrangement is the -- that there is not a
prearranged plan or some other manner where the
taxpayer enters into these transactions, can
get the stock back in all circumstances or can
compel the Firefighters to sell lt back.

And a transaction in which the
Firefighters don't seemingly act-- it's in an
arm’s length fashion where they object to a
provision in the stock purchase agreement lt
says they have come to their own conclusions
about fair market value, and they have looked
at the tinancials and everything else.

They object to it. They ask for the
tinancials The response is basically to, you
know, give them Hnancia|s through September,
not showing the spike in income and deleting

the provision from the agreement l spent a

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Burke
great many years doing transactions Most
people dealing in purchase and sales you know
when you ask for information the other side
basically says we are not giving you what you
ask for.

You don't just agree to delete the
provision in the agreement and go on with the
purchase price. l mean, you get suspicious,
and you ask for more information You try to
get into the -- you know, the facts to
understand if you are, in fact, getting a below
market price.

So l think both the approach taken
by Upper Deck in trying to minimize the price
and kind of the nonarm‘s length behavior of the
Firefighters raises a significant suspicion in
my mind Certainly, lthink in the lRS's mind
that this wasn't kind of, you know, kind of
parties dealing at arm's length. That there
may well have been kind of a -- at least at
worst, a prearranged understanding that the
Firefighters would sell back at -- you know at
the whim of Upper Deck.

So l think that-- l think it again

594

Burke
colors the whole transaction as to whether
these parties were really dealing at arms
length and whether the Firenghters really had
the economic upside from the ownership of these
shares during the year or two that they were
supposed to own them.

ARB|TRATOR MOXLEY: Let me ask
Mr. Burke. On the issue of donative
intent, what, if any difference, does it
make in this area whether the taxpayer
cared about this particular charity, had
had an admiration for it. lt had a
personal interest in it, went to their
events You know, followed them, talked
to them, whether it was his charity really
or whether it was something that was
arranged as a charity that he never heard
of and never talked to?

THE W|TNESS: | think it is. lt is
something that would be signincant in
contest l think the --the more involved
someone was in the charity, the stronger
their case would be. So certainly, if

their son was on the Firefighters, and as
595

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upper deck-aig arb

Burke

you say, went to all the events and that
they had a long-standing history, l think
the case would be, you know, almost
unwinble from the |RS. They would have
virtually no shot in that circumstance
where there was a long-term pre-existing
relationship.

ARB|TRATOR MOXLEY: What about at
the other extreme? k

THE WlTNESS: The other end of the
extreme, l don't think -- you know, the
fact that there wasn't the long-term
relationship would cause the case to be
lost.

lt would make it less strong, but
you know, l mean there is the fact that
they didn't know a particular charity. lf
they, especially in the context of, you
knowl this past decade and the prominence
of Firenghters and everything else, l
think it's perfectly understandable
someone wants to make a donation to
Firefighters

So l don't think that would -~ the

596

Burke

fact that they didn't have a long-term
relationship and involvement with the
charity, l don't think would cause them to
lose the case with the |RS or in a court.

CHAlRMAN BYRNE: lf the -- there
were a few things in your prior answer,
some of the factors seem to boil down to
on its face -- l'm not quoting you, but
l'm going to paraphrase, on its face, it
looked bad.

Let's flip ita little bit.
Firefighters Fund has an independent board
they are a State-run pension fund in
effect, regulated up the wazoo, a Gaelic
term, and there are -- there is evidence
that they acted independently such that it
was notl in fact, a prearranged
transaction. There was, in fact, no undue
pressure lt was a decision legitimately
made by them to accept the 2 million, not
bad from their point of view.

Assume then that there was donative
intent, perhaps overshadowed by the tax

benefit, but the 2 million was real. lt

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Burke
was a real number that could be -- had
been determined to be fair market value
for those shares at the time, and the
factors that the Austin Fund considered in
taking the offer.

How does that change the analysis?
|n other words, look at the transaction,
itself, as it went down.

THE W|TNESS: Um~hum.

CHAlRMAN BYRNE: And l'm taking out
the factors.

THE W|TNESS: Right. What you are
saying is, if they got together and
negotiated at arm's length in a sensible
fashion, they came out to a $2 million
purchase price, how would l think that
impacts the --

CHAlRMAN BYRNE: lt was fair. lt
was relatively arms |ength.

THE W|TNESS: So the fact that they
didn't wait until the following April and
exercised the Put, l think if they really
dealt at arm's length and negotiated like

arm's-length parties would negotiate, l

598

Burke
don't think the fact that they bought the
stock in Deoember of '02 would adversely
impact the chances of success on the tax
side.

l don't think you had to wait till
April to exercise the Put if you, for
whatever reasons, the parties got together
and negotiated at arm‘s length, came out
with, you know, the appropriate price like
parties at dealing at arms length wou|d,
an early purchase outside of the Put
arrangement l don't think, changes the
analysis.

CHAlRMAN BYRNE: ls there a
difference between the manner in which the
price was arrived at, arm's length,
negotiated, truly third party, and the
ultimate fair market value? No matter how
they got there, 2 million was, in fact,
fair market value at the time?

THE WlTNESS: if it was 2 million --
was truly the fair market value?

CHAlRMAN BYRNE: Um'hum.

THE W|TNESS: lthink if they bought

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upper deck-aig arb

Burke

at fair market value, whether it was
2 million or 11 million or whatever it
was, you know, lthink that would not
adversely impact the chances of success if
they fought with the |RS over it.

ARB|TRATOR MOXLEY: Regardless of
whether they had a written fairness
opinion, fair market value valuation?

THE W|TNESS: l think that's
correct

ARB|TRATOR MOXLEY: Because if you
assume they are negotiating at arms
length, then you don't need an opinion.

THE W|TNESS: Right. l mean if you
saw that the Firefighters had all the
Hnancials, and they had someone who had
some financial competence, an accountant
or maybe someone on their board or
something, and really analyzed it and
everybody, with full disclosure, and acted
like parties in a negotiated deal would
act, if they came to the conclusion that
$2 million was the purchase price, lwould

think that would not adversely impact the

600

Burke
prospects of success in a tax dispute.

ARBITRATOR MOXLEY: Would you think
that when Austin was looking at it, if
they had known of the disclosures that had
come out about the |RS challenging this
kind of transaction, that that would have
affected, orthat that would likely have
affected the way a charity would look at
it because you would say "Well, you know
if it's not a legitimate shelter, what
does that mean to us?

THE WlTNESS: it cuts both ways. l
mean another way they could have looked at
it is this was that the --the whole thing
with KPMG bringing these transactions,
that was the ghost that -- goose that laid
the golden egg. And as long as there was
still a prospect of more transactions
coming, they weren't going to put up too
big a stink or negotiate too hard about
the repurchase price because they wanted
to make sure the next yield came along and
they got the <- you know, the value.

And if, because of the fact that the

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Burke

lRS had now stumbled across this
transaction, and it was exposed --it
wasn't at that point a listed transaction,
but you know it may well have been that
the charity may have known that the lRS
knew about this, the spigot of deals had
been turned off. l mean another reaction
the charity might well have had is like,
we don't care about being nice to KPMG
and -- you know, because we are not going
to get any more of these transactions
This is our last opportunity, and we want
the last nickle we can get. So...

ARB|TRATOR MCXLEY: What would a tax
court -- how would a tax court look at the
question of whether a situation like this
was arm's length negotiations if the view
of the charity were that this is found
money. We don‘t have any basis in it. We
don't know we have it until we have it
anyhow. So if we can close it out, and
now, we know we have 2 million bucks, what
does that do to -- as to whether this

process is one that involved fair market

602

Burke
value?

THE W|TNESS: You know, as a fact.
You are looking at a position where the
charity three months later basically had
the right to get fair market value per an
appraisal process So it's -- to say they
gave it to us, it was worth a 1.3 million
and $2 million is probably a significant
amount of money for, you know, a city fire
pension fund.

But notwithstanding that, they still
had the possibility three months later to
get the full fair market value. And l
would think that parties dealing in arms
length, who knew in a very short period of
time they had the right to find out fair
market value, would want to make sure that
when someone offered them $2 million, that
that at least had some, you know,
approximation of the fair market value at
that point. And they wouldn`t just kind
of go 2 million is a big number. Let's
take it because 2 million is a big number,

11 million, you know, or 20 million,
603

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upper deck-aig arb

Burke
whatever the value might have been is
possibly a bigger number. So the whole
thing about people taking the price
without fully kicking the tires, l think,
is the problematic side from the
Firefighters' point of view.

ARB|TRATOR MOXLEY: lf you were in
the District Court and looking at the tax
issues and also looking at the issues of
the implication to the charity if it were
determined that the tax strategy didn't
work, and it wasn't a bona tide gift, how
would that play out in terms of the impact
on the right of the charity to get fair
market value under its Put provisions of
the shareholder agreement?

THE W|TNESS: ln civil litigation,
you mean?

ARB|TRATOR MOXLEY: Right.

THE W|TNESS: When they are pursuing
it with the taxpayer?

ARB|TRATOR MOXLEY: Right.

THE W|TNESS: l'm not sure l have

any expertise on that.

Burke
ARB|TRATOR MOXLEY: Thank you.
CHAlRMAN BYRNE: Do you know whether

:or not, in your review of these matters,

whether or not there were adverse tax
consequences laid at the doorstep of the
Austin Firefighters Fund?

THE W|TNESS: l don't know.

CHAlRMAN BYRNE: l'm more than --
it's as much curiosity as anything else,
but they received $2 million?

THE W|TNESS: Right.

CHAlRMAN BYRNE: Did it affect their
tax status or the taxability of the
2 million if you know?

THE W|TNESS: Well, l know the tax
law in the area So l can give you my
best estimate of what was going on there.
The fact that the Austin Firetighters were
tax exempt was not sufficient Most -- if
you went to the United Way and said would
you do this? The United Way would
probably say no because they had the
prospect that the money they could be

paid, you know, could be taxable -- most

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importantly is the income that flows
through from the S corporation would be
something that was called Unrelated
Business Taxable lncome, and it would be
subject to tax.

The magic of the Austin Firefighters
is being a government affiliated entity,
that they are arguably exempt from the
UBT| rules. l say arguably only because
in the early 1970s, there was a dispute
about whether government entities were
subject to these rules.

The |RS came out with a notice that
said we don't know whether there are
exempt or not. We are studying it, and we
will let you know. Now, 35 years later,
they haven't let us know, so -~ and they
basically said until we let you know,
assume you are exempt

So state affiliated entities are
generally exempt from UBT| until we hear
to the contrary. So l don't think in that
context, the Austin Firefighters were

concerned that they were going to be

606

Burke
taxed. l can tell you because of some of
the heat that has been, or some of the
focus that has been put on these
transactions and the rolls of tax exempt
entities involved in them, that Congress
is considering whether they need to do
something to -- you know, to smack the
hands of the charities that are overly
accommodating, but as far as an immediate
taxis concerned, l think that was highly
unlikely.

ARB|TRATOR KRAMER: Excuse me,
Mr. Burke. l‘m troubled by the economic
substance argument regarding the generic
transaction.

THE WlTNESS: Um-hum.

ARBlTRATOR KRAMER: l don't -- l
think -- l mean l'm thinking ofwhen l
told the University of Pennsylvania that l
left something to them in my wi|l, and
they made me a member of the Harrison
Society, but it's not a charitable
deduction until it becomes quantifiable,

or someone enters into an agreement to
607

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Burke
make a charitable contribution, and it's
not deductible until it's quantifiable

THE W|TNESS: Um-hum.

ARB|TRATOR KRAMER: This generic
transaction seems to me to be designed to
eliminate any other economic substance
from the execution of the transaction
You have a situation where l would
imagine - l would imagine that in most of
these taxpayers' cases, there were not
going to be sudden spikes in the income
realized by the S corporation.

And in fact, the only thing that
changed from the tax consequences of an
intention to make a gift, where you would
be allowed an ordinary income deduction
once it was quantitiable, were that
90 percent of the income was deferred --
was allocated in a way where there was no
tax paid to an entity that had no control
over the company, no participation in the
company, and had a mere -- a small
fraction of the economic benefit of that

corporation 9 percent in this particular

608

Burke
case, and probably in most cases from the
way lwas reading the rulings.

l mean the notices and that
90 percent of the income was going to be
deflected back to a taxpayer, who would
then realize the benefit of 100 percent of
the income, only 90 percent of it at
capital gains instead of ordinary income
rates.

And that what happened here was this
was an accident where there would have
been economic substance if the Put Option
were permitted, and this possibly, to me,
in the way l'm looking at, in this
hypothetical analysis, the way l'm looking
at it, this would have been the one case
where it might have been sustainable, but
there was an accident.

Where do you see the economic
substance? Where do you see the change in
the relationship of the taxpayers from a
deferred giftl otherthan this enormous
tax benth that someone that was going to

get 100 percent of the income was going to

609

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Burke
benefit from?

THE W|TNESS: Ultimately, lthink
this goes to a question of who owned the
shares of stock during the -- in this
case, you know, a year and a half that the
charity at least had nominal title to it.
And there is very well established case
law in the tax world as to who is the
owner of property for tax purposes, and it
goes to who has the benefits and burdens,
of economic benths and burdens
associated with the property.

And in that regard, you know, l
don't think there is much question that it
was the charity. Now, you can --the
problem with this case is, let's take
aside -- take out of it the subchapter S
piece. Let's say, you did this with a C
corporation where there is no flow
through of income, and for whatever
reason the |RS wanted to say the charity
wasn't the owner of the preferred stock --
l'm sorry, the non-voting stock during

this two-year period.

610

Burke

lwould say they had no shot. They
would have absolutely no prospect of
succeeding on that issue because the
charity, to the extent there are changes
in the value, if it goes up, it goes down
it's the charity who is the one who has
the economic consequences

They have all the benefits and
burdens associated with that stock. And
granted, that stock is, you know, stock in
a corporation that has a large overhang of
warrants out there, but the stock is the
stock. Whatever the economic benefits of
that stock are, they were absolutely owned
by the charity, Okay?

The complicating factor in this
circumstance isn't the charity didn't own
these shares. The complicated factor is
they owned something which, if you look at
the appraisals, they say the non-voting
stock was worth about 5 percent of the
company.

Because of all the discounts and the

existence of the warrants and everything
611

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upper deck-aig arb

Burke
else, you took something that was worth
5 percent of the company and was
allocating 90 percent of the income.

Now, the problem isn't that the
charity didn't own it. The problem was
that the tax rule said whoever owns it,
gets this share of the income. And you
know, should the rules say something else,
maybe they should, but you know they
don't.

The real substance here is that --
and you knowl l should say there are lots
of circumstances out there in the tax
world where income and value are, you
know, separate. You can look at things
called grantor trust beneficiaries
undoubtedly unquestionably have all the
economics, but the person who granted
the -- set up the trust because they have
some control over who the trustees are,
something like that. They are taxed on
100 percent of the income. Partnerships
that are 80 pages of regulations on how

allocate income among partners, you know,

612

Burke `
which clearly, you can be getting all the

eoonomics, you know, in the short term,

and l'm getting all the income. So l mean

the disassociation of income and economic
benefit is not unique. lt's just extreme
in this case.

ARB|TRATOR KRAMER: lt doesn't
trouble you that this was -- that this was
engineered so that prior to the gift,
there was a resolution made that there
were going to be no distributions of the
income. And in an S corporation the
income is the chief economic benth of
ownership, and that there - and that the
distributions weren't reinstated until the
stock was sold? Where is the economic
benefit of stock ownership'? l mean of
this particular kind of security, a
non-voting share.

THE W|TNESS: Well, you know, during
this period, they accumulated whatever,
$200 million worth of income. l mean if
you got to the Put, you went to an

appraisal, and they appraised the value of

613

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Burke
this corporation you know the thing is
now sitting on $200 million of profit it
didn't have before.

ARB|TRATOR KRAMER: That goes back
to my -- my thought about the generic
case, where you would have normal,
run-of-the~mill income accumulating during
the period of stock ownership, But that
here, there was an accident that happened
They made a lot of money and it was
engineered so that the charity would not
possibly, or couldn't possibly benefit
from that unless that Put Option were
exercised at fair market value. But the
generic transaction didn't have -- wasn't
engineered for stock -- for taxpayers who
were going to make a lot of money during
that period of donation

THE W|TNESS: Even if you didn't
have unexpected surge in your earnings, l
mean obviously, you know taxpayers
wouldn't have gone into this if they
didn’t expect to have significant income

during the period, And otherwise, it

614

Burke

would have made no sense, right? The only
benefit occurs if they generate income,
and you can allocate 90 percent of it to
the tax exempt So whether the -- l'm
sure they weren't expecting that type of
spike in income that the Upper Deck
Company realized

But everyone was expecting income,
and that income, by and large, would
accumulate in the S corporation until, you
know, the exercise of the Put or some
other -- it could be sale of the company,
but some other way of realizing on the
fair market value of the stock.

And the fair market value of the
stock that the charity owned, you know,
reflects the fact that those earnings have
been retained. So l mean they don't get a
direct benefit. They are not getting the
dividend distributions, but you know, it's
not like they don't get any economic
benefit out of it.

ARB|TRATOR KRAMER: But you are

not - l'm not satisfied with the answer
615

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upper deck-aig arb

Burke

of where the economic substance is that's
different and other when you are talking
about a gift of an unmarketable security
and it is an unmarketable security, right,
by every -in every sense of the word.

THE WlTNESS: Right.

ARB|TRATOR KRAMER: When you are
talking about a gift of an unmarketable
security, where is the difference in
economic substance between that and a
deferred gift, like my gift to the
University of Pennsylvania in my Will or
my agreement to make a gift at a later
date when l can figure out how much it's
worth?

THE WlTNESS: Well --

ARB|TRATOR KRAMER: And that, to me,
is where l'm having a real problem with
your opinion

THE W|TNESS: Well, ldon't think
there is any question outside of an SC
squared transaction, if somebody donates
"unmarketable securities," nothing is

ultimately completely unmarketable There

616

Burke

‘are just -- interests in private companies

are donated to charities all the time.
Charities have a tendency not to want them
because they have to hold onto them, and
they are on the board, and someday, you
knowl it's difficult to realize on the
value. But certainly, charities take them
because it's better to take the stock and
hope someday, you will get to cash it in
than it is to, you know, not take it at
all.

So l think charities do accept
interests in private companies on a
regular basis. lt is quite often the case
like this, that this is because of the
lack of marketability that the charity
does have the Put Option at some point in
time.

lt has nothing to do with SC squared
or anything else. lt's just in order to
give the charity the marketability or the
ability to liquidate their ownership,
lt's not unusual for the donor, if they

own the company, to give them a Put at

617

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Burke

some point in time.

And it's in that circumstance there
is, to my knowledge, never a question
about whether there was a completed gift
that people get. You know, you have to go
get appraisals, and End out what the
value of the stock is, taking into account
lack of marketability discounts and
everything else, But whatever that value
is on the date it's gifted, you know, is a
valid charitable deduction

ARB|TRATOR KRAMER: But what is the
-- there is --the charities' willingness
to accept the gift, l think, is completely
irrelevant What is the difference
between -- where is the economic substance
different between the gift you just
described and that would justify in the SC
squared generic case, tax treatment of
90 percent of the income in a way that is
a consequence that wouldn't happen if you
are given -- if you are just giving the
stock without strings attached?

THE W|TNESS: Yeah, l mean it's fact

618

Burke
that the income follows the stock
ownership is the thing that's unique about
SC squared. Outside of SC squared, the
only question is who has ownership for tax
purposes

So once that's established and
outside of SC squared, l don't think there
would be much question that the charity
had the stock ownership Even though it's
hard to value, and they might not be able
to liquidate it for a long period of time,
to the extent there are changes in values,
whatever economic consequences are
associated with that stock, it belongs to
the charity. And therefore, they would be
treated as the tax owner.

The twist, and the thing that makes
everybody, you know, think maybe this is
too good to be true in SC squared, is
thatl you know, along with that ownership
comes, shall we say, a disproportionate
amount of taxable income.

ARB|TRATOR KRAMER: And documents

that say you can't really exercise the
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upper deck-aig arb

Burke
rights of that ownership?

THE WlTNESS: Well, you know, they
had the economic -- they had the ability
basically to realize on it from the
exercise of the Put. l mean granted, they
were a silent partner, but they were a
partner that did not have -- didn't have
voting rights. lt had whatever state law
rights they give to minority shareholders
in the state of California.

You know it does -- it probably
would have some rights if there were a
merger or something to vote as a separate
class. l'm not a corporate law expert,
but these are kind of standard rights that
you can't eliminate.

You know, so they had those, but
from a tax point of view those aren't the
key things The key things are, you know,
if value goes up, value goes down who is
impacted and there, it's the charity.

And you know, the Put is the
arrangement that guarantees that the

charity could realize on that value,

620

Burke
whether it's higher than the value at the

time it was donated to them or lower, that

impacted the ultimate economics to the

charity.

So l think, you know, outside of
some overarching tax principle that just
kind of -- the tax benefit here is just so
overwhelming that they are going to
disregard stock ownership. l don't think
there is much question that in a generic
SC squared transaction, that the charity
would be treated as the owner.

And l think that's one of the
reasons people were so bullish on this
particular strategy likely succeeding if
litigated. lt's because for the |RS to
upset it, they would have to go against,
you know, hundreds of cases that look at
the economic benents and burdens of
ownership,

And the |RS would need to do
something that kind of said forget all
these cases that have been developed over

the last 50 years We have a new approach

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Oct 13 arb hearing 10/13/2006 10:05:00 AlVl

Burke
here that kind of says economic ownership
is not the key. You have to weigh it
against the tax consequences and that's
not where the law is at the moment.

lt may be sometime in the future,
but by and large, the tax law now says if
they are the economic owners, then they
get the tax consequences associated with
the ownership.

ARBlTRATOR KRAMER: Thank you.

ARBlTRATOR MOXLEY: Did you --
Mr. Burke, in the analysis you did -- did
you review the shareholders agreement?

THE W|TNESS: Yes.

ARB|TRATOR MOXLEY: Did it concern
you at all that no place in the agreement
was there a clause that said in no
instance may there be a buy back by Upper
Deck from Austin unless the price is
either determined pursuant to Section 5 in
the context of the buy back where there
would be a fair market opinion or in the
context of, l think it's 3, is it 3?

ln the context of this Section, it

Burke

says that we||, there is a right of first
refusal,

ARB|TRATOR KRAMER: 2.

ARB|TRATOR MOXLEY: 2 -- Section 2,
there is a right of first refusal if there
is a bona fide buyer out there?

THE W|TNESS: Your concern is they
didn't put it in a provision that
prohibited --

ARB|TRATOR MOXLEY: Correct. l mean
it-- there are provisions in there that
say okayl you know, if you have an opinion
in the context of the redemption you know
that's one exit strategy for the charity.
And secondly, if the charity gets a bona
Hde purchaser, however unlikely, you
know, and then there is a right of Hrst
refusal, that`s another exit strategy.

Those are the strategies there
Those are the ones that, l take it have
been relied on in some sense, as to the
bona fides of what has been called the
"generictransaction" right? l mean

isn't that essentially the case?
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upper deck-aig arb

Burke

THE W|TNESS: Um-hum.

ARB|TRATOR MOXLEY: But it's a fact
that there is no provision in that
agreement that says that there is no other
way to do it l mean you -- it can't be
the case that you just have a buy back
where the taxpayer goes to the charity and
says, "Look, here is what we are going to
do." The agreement doesn't say that. So
does that-- does that affect -~l mean
does that make any difference to your
analysis?

THE W|TNESS: No. l mean l think
that provision you know, l never would
have thought of-- of put in such a
provision l mean you are talking about
the two parties to the agreement agreeing
that they are not going to, you know,
enter into a transaction, you know, in the
future? lf they decided six months later,
well, let's buy the stock back, you have
the two parties to the agreement, the
repurchase in the agreement would, in

essence --the repurchase of the stock

624

Burke
would, in essence, just be an amendment to
the shareholder agreement

ARB|TRATOR MOXLEY: But there‘s no
-- but the question in my mind is, well,
what‘s the significance of the fact that
the agreement didn't preclude that? Does
that not mean that when we talked about
the generic transaction that the generic
transaction includes -- because the
agreement doesn't preclude it, includes
you know, just the possibility that they
get together outside the redemption
period.

Whether beforehand because somebody
wants to do it sooner, whether it could be
the taxpayer, it could be the charity, or
the Put period goes by and then they want
to do it.

So l mean there is no provision
either way as to what the terms of a
transaction should be if it's not pursuant
to, you know, either of these Section 5 or
Section 2. So ostensibly, that's open

because it's possible lt's open till

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Oct 13 arb hearing 10/13/2006 10205:00 AlVl

Burke
they do it however they want So what
does that do to the tax liability of the
universe of what‘s permitted by the
shareholders agreement?

THE W|TNESS: l don't think the
absence of such a provision impacts it at
all, and you know, as l said a new minutes
ago and l forgot who asked me the
question but | don‘t actually even Hnd
that the early purchase, as a concept,
impacts the tax viability.

l think the thing that impacts the
tax viability is the manner in which this
particular purchase was done. lf it had
been in December of‘02, if everybody got
together, they got their Hnancial
experts They sat down and they
negotiated and they came out with
whatever the price is they negotiated

Based on the way parties act in
normal commercial transactions and they
come up with a value of you know
$8 million or something, l don‘t think

that would impact the tax viability of the

626

Burke

structure

ARB|TRATOR MOXLEY: But how is the
tax viability of the structure affected,
if at all, by the fact that it appears to
be an open issue? And l'm not saying that
it does appear that, but if it appears to
be an open issue that the parties can just
get together and just do something on
whatever basis, even an accommodation
basis because, you know, it's a free
country.

People can -- you can have a gift
You can have a reverse gift You can have
a give back of part of the gift lf
that’s, you know, not precluded by the
agreement and if that means that it is
permitted by the agreement, what does that
mean as to the tax viability as a general
proposition of the underlying arrangement
that permits that?

THE W|TNESS: ldon't think the lack
of that provision impacts the tax
viability at all. l think when you go to

the insurance poiicy, you know, and the
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upper deck-aig arb

Burke
representations that went with the
insurance policy about not having a
prearranged ability to compel anybody to
do anything and that they did this with
donative intent, then maybe that has some
impact on the insurance policy. But as a
tax matter, l think the lack of that
provision in the agreement is completely
neutral.

ARBlTRATOR MOXLEY: But if you
have -- but if you interpret -- l mean we
have used the term "generic agreement,"
and l take it we meant, you know by that,
what’s permitted by the underlying
documents lf, and l'm not-- you know,
it's an issue here.

THE W|TNESS: Right.

ARB|TRATOR MOXLEY: But if the
underlying document permits a willy nilly,
ad hoc transaction without a requirement
of appraisal opinion or an arm's length
transaction, it could be anything. lt's
not regulated. lf that's part of the

generic deal, then that encompasses what

628

Burke
actually happened here And how does that
affect whether that broad nature of the
generic deal is, therefore, permitted
here.

THE W|TNESS: Again the fact that
it wasn't precluded, l don't think changes
the tax analysis l think if people did
enter into this transaction prior to the
exercise of the Put because they were
allowed to under the agreement, or they
weren't prohibited anyway, then l think
the terms on which they did it does, in
fact, potentially impact the tax analysis

But the mere fact that they could,
if they could do it and deal at arms
length, which l think would be the normal
presumption do parties, you know absent
any evidence would normally act in a
commercially reasonable fashion deal at
arms length and come out with what they
believed was a fair price. You know, that
transaction, l don't think impacts the tax
viability.

When they do something that departs

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Oct 13 arb hearing 10/13/2006 10105;00 AlVl

Burke

from that, you know standard commercial
transaction, that impacts it. But the
ability to do a repurchase, other than
pursuant to the exercise of the Puts, that
theoretical possibility, l don't think is
something that cuts one way or the other
as far as the tax prospects are concerned

ARBlTRATOR MOXLEY: But my question
does, and you have given an opinion as l
understand it, and you said that the
transaction is consummated, $2 million
transaction wouldn't win right? And you
said that the generic deal would win. You
didn't say that. You said you thought it
likely would. l mean you hedged it
various ways, but you know, you thought it
had a fair prospect?

THE W|TNESS: Right.

ARB|TRATOR MOXLEY: But my question
changes the definition cf the generic
deal. My question says if the generic
deal is encompassed in all the papers if
-- and it's an issue here. l don‘t know

the answer to it at this point, but if the

630

Burke

generic deal permitted the willy nilly, ad
hocl not necessarily fair market value
transaction would that change your view
as to whether the generic deal would pass
mustef?

THE W|TNESS: The fact that it would
allow it? l mean even if it had a
provision in the agreement that said, "and
the parties can negotiate, you know, a
deal outside of this contract," l don't
think that would impact the tax analysis
How they did it would impact it, but the
fact that they just kind of says --

ARB|TRATOR MOXLEY: Okay. l got it
Thank you.

MR. KUSHNER: l have no questions

CHAlRMAN BYRNE: Let's take our
break. Mr. Burke, walk around for five
minutes Please come back. Why don't you
come over here and counsel for respondents
have a few questions for you.`

(Recess taken.)

CHAlRMAN BYRNE: Mr. Howell

indicated that you may proceed
631

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upper deck-aig arb

Burke
EXAM|NAT|ON
BY MR. WAHLQU|ST:

Q. Good morning again Mr. Burke.

A. Good moming.

Q. Are you ready to proceed?

A. l am.

Q. l thought l heard you make a
distinction in your testimony earlier about
whether or not the transaction that took place
in December of 2002 affected the viability of
the SC squared transaction in tax court, or
whatever court it gets litigated in --

A. Right.

Q. -- and whether or not the
transaction violated a term or condition of the
policy.

Did l hear that distinction made in
your testimony?

A. l'm not sure. Could you maybe
elaborate? l'm not sure l'm --

CHAlRMAN BYRNE: Frankly --frankly,

l did. You were talking about the impact

on tax consequences as opposed to without

regard to insurance coverage

632

Burke
THE W|TNESS: Right.

A. ldid distinguish the two. loffer
no expertise on the insurance policy.

Q. And that's what l want to be clear
about is, l mean to do a simple analogy. You
know, if l have a fire insurance, and l smoke
in bed, and my house burns down l certainly
increased the risk, but it may or may not still
be covered under my policy, depending on
whether or not there is a prescription on my
smoking in bed, right?

A. Um-hum.

Q. And you are not going to tell us
whether or not the December 2002 transaction
violated a term or condition of the policy or
representation right?

CHAlRMAN BYRNE: He could try.
THE W|TNESS: Right.
|VlR. KUSHNER: No, he is not here to
do that.
CHAlRMAN BYRNE: But it is clear
that he is not here.
MR. WAHLQUlST: Okay.
BY MR. WAHLQU|ST;

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Oct 13 arb hearing 10/13/2006 10:05:00 AlVl

Burke

Q. When --the donation in conjunction
with the shareholders agreement in 2001, when
do you measure the economic substance of that
transaction?

A. ldon't think you can measure the
economic substance of the entire transaction
until it's completed So it depends on when
the |RS audit would come up. lf the lRS
audited it in 2001 before any repurchase under
any circumstances occurred, that's when you
would have to look at it, but you know, you
have an audit that occurs after the transaction
is complete, so you look at the complete
transaction.

Q. Well -- and at the time we do the
audit as of what time period do we judge the
economic substance of the transaction? ls it
when the donation was made?

A. lt is when the donation is made, but
in trying to look at the substance, you lock at
subsequent events to determine what light that
may shed on whether there was economic
substance when you started

Q. You are suggesting we might draw

634

Burke
inferences from what happened later about what
the substance was at the time? ls that what
you are suggesting?

A. Yes.

Q. And you've talked about inferences
that the court might draw about whether or not
there was a prearranged agreement between the
Firefighters and the Upper Deck Company in
December of 2002. What inferences a court
might draw from that transaction about what
happened in 2001, right? 2

A. Yes.

Q. Did you ever interview anybody from
the Firefighters?

A. No.

Q. Have you ever read their testimony?

A. No.

Q. Have you -- have you, personally,
interviewed anybody with Upper Deck?

A. No.

Q. About that trans- ~- no. Have you
ever talked to anybody at KPMG?

A. No.

Q. And what you are offering as an
635

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upper deck-aig arb

Burke
opinion - your opinion that the viability of
the SC squared strategy was affected by that
transaction is based in part on an assumption
that the facts of that December 2002
transaction, if examined, will evidence or
permit an inference of a pre-existing
agreement, correct?

A. Agreement or arrangement yes.

Q. And if the arbitrators here were to
decide that evidence just wouldn't warrant that
conclusion that would be contrary to one of
the assumptions of your opinion right?

A. Yes. The other aspect of my opinion
that was the donative intent, so but --

Q. Right. And when do we measure
donative intent?

A. Also measure that at the time of the
donation

Q. And your argument or conclusion is
essentially premised on the idea that -- that
you could draw an inference from the fact that
the price was $2 million that there was no
donative intent in 2001, right?

A. Um~hum.

636

Burke

Q. And if the arbitrators were to
reject that supposition that would undermine
one`of the bases for your conclusion correct?

A. Correct.

Q. l want to understand -- you have
used in your report, a variety of expressions
to describe the viability of the SC squared
transaction. You have used "reasonable
prospect of success, significant possibility of
prevailing." l'm trying to get a handle on
what you really mean by that. Can you
elaborate?

A. Well, lthink as l explained
earlier, outside of the promoted transaction
arenal l think there was a high likelihood of
success l don't know what that percentage is,
but the taxpayer had, in my view, a
significantly stronger side of the argument.
The promoted transaction nature of this puts a
wild card in the analysis that l don't know how
you would go about trying to quantify. But it
certainly diminishes the prospects of success
so it becomes a closer call. As you know tax

is not a precise science So predicting what

637

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Oct 13 arb hearing 10/13/2006 10:05;00 AlVl

Burke
the court would say is hard to come by.
Q. Can you put a percentage on the
prospects of success?
A. l can't put a percentage on it.
Q. Are you aware thatAlG has called

another expert on the same subject?

A. l am.
Q. lVls. Linda Burke?
A. Yes.

Q. Have you reviewed her testimony?

A. l have reviewed her report, not her
testimony.

Q. ln her testimony, she suggested a
percentage of 60 to 70 percent prospects of
success Would you disagree with that
assessment?

MR. KUSHNER: l object That was
only on one part. On the other part, she
said 90 -- my memory is 90 to 100 percent,
so l object

MR. WAHLQUlST: l stand corrected.
l will rephrase the question

BY MR. WAHLQUlST:
Q. With respect to the out- -- what you

638

Burke

refer as the allocation of income argument, she
put a prospect of success at 60 to 70 percent
Would you disagree with that?

A. l'm not sure l would be at that high
a level. l don't think her assessment is
unreasonable but so -- but l probably not as
that high myself.

Q. So you are over 50 percent but below
60 percent?

A. l'm somewhere in that middle range,
yes

Q. One of the things that you state in
your report is that because of the
disproportionate nature of the tax
consequences and the size of the gift, and
because of the mass marketed nature of SC
squared, there was a distinct possibility of
losing, even in the generic transaction?

A. Correct.

Q. And that would just be the fiip side
of the possibility of winning, right?

A. Yes.

Q. Okay. You suggest in your report

that the transaction in December of 2002
639

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upper deck-aig arb

Burke

substantially decreased the possibility that
Upper Deck Corporation would prevail?

A. Yes.

Q. Can you elaborate on that for me?

A. Sure. Again it goes back to the
two aspects that l perceive, based on the
evidence l have seen and the correspondence
that it's because you may well need a donative
intent for the transaction to be uphe|d. The
manner in which that redemption took place or
repurchase took place, you know, undercuts
that

The other aspect of it is the

behavior of the Firefighters who were, from the
evidence l have seen not acting in your
standard commercial reasonable fashion of a
situation where they could realize fair market
value three months later. They accepted with
relatively little inquiry, you know, an offer
proffered to them. l think that raises the
prospect that there was a prearranged agreement
or arrangement that, you know, reflected the
prospect of them selling back at some price

other than fair market value

640

Burke

Q. Of course, the Firefighters may have
had reasons unrelated to the price of the stock
for'wanting to disentangle themselves from this
circumstance, right?

A. Conceivably_

Q. You alluded to the possibility that
they could be assessed taxes because of the
concept, lthink you referred to it as UBlT,
Unrelated Business lncome?

A. Yes.

Q. And that possibility existed, did it
not?

A. l would consider that possibility
virtually insignificant

Q. How about from a legislative
perspective'? lf Congress got wind of this
circumstance, that people who had this
exemption for unrelated business income were
engaging in activities like this, they would
have a legitimate concern that that might
affect that status for them?

A. l'm not sure even if they did, why
that would inspire them to get out of the

transaction. l mean they had already done the

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Burke
evil that Congress might attempt to change.

Q. You don't think they might have
wanted to disentangle themselves from this
circumstance?

A. l- l don't know. l-- you know, l
think they are a very small player in a very
large tax shelter arena. So l'm not sure that
they are thinking if we get out, that this
somehow going to change the legislative
prospects but --

Q. What does the |RS have to do to
revoke somebody's status as a charity?

A. l'm sorry?

Q. What does the |RS have to do to
revoke somebody's status as a charity?

A. They basically would have to
indicate that they were not -- or their primary
activities were no longer consistent with their
charitable purpose

Q. What‘s the procedure to do that?

A. To do`that? l'm not sure of the
ins-and-outs of the procedure

Q. Do you know anyone who is actually

litigating the viability of the SC squared

642

Burke
transaction?

A. ldon'tknow. lknow there are some
cases that have received the notice of
denciency where you then have 90 days to
decide whether to go to tax court or pay and
either go about your business or then file for
a refund.

So last reports l have from anyone
is they were up through the statute and the
notice of deficiency and don't know, where
they -- at the stage in the settlement process
with the lRS that those notices of deficiency
would just be coming out, so it's --

Q. So the answer is no?

A. The answer is no.

Q, Now, if l understood you correctly
earlier, you said lVlr. Rettig had 34 clients,
eight to ten of which were considering
litigating SC squared. Did l hear that
correctly?

A. l'm not sure whether the 34 was the
precise, somewhere in the 30s, and that eight
to ten was the number that he was anticipating

were going to litigation
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Q. So of the 58 SC squared
transactions your best information is that
only eight to ten of them are even considering
litigating with the lRS; is that correct?

A. That's my best infon'nation, but l
don‘t know anything about 20 or so of them.

Q. And presumably, these 58 individuals
involved were all high income individuals
certainly able to hire competent tax counsel;
is that correct?

A. That's correct l assume

MR. KUSHNER: You hope
THE W|TNESS: lhope.

Ctv Does that sort of strop whole that
maybe only eight to ten out of 58 would take
the lRS on in this circumstance cause you any
concern about your opinion about the viability
of the SC squared transaction?

A. No, not really. No, l have
represented a lot of taxpayers who were
involved in various shelters and the discovery
process, the lDRs that they put up with, the
legal fees they have incurred. The -- you

know, it is a very daunting prospect to go into

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Burke
litigation People may well decide not to
litigate, and l know many of my clients have
decided not to litigate cases because of-- not
because of the substance of the transactionk
but because of the externalities, the other
costs associated with doing it. So l'm not
sure eight to ten is probably a -- out of, you
know, it's roughly a third of what Rettig -- of
the sample l know about roughly a third of
them going to litigation l think is a very
high number compared to other structured
transactions

Q. Are you monitoring any of those
other cases?

A. You know, how can l say this? You
know in connection with my involvement with
A|SLlC, l do have occasion to End out where
those cases stand, but have not really had
contact on them in several months now.

Q. Are you monitoring other SC squared
transactions for AlG besides this one?

A. Yes.

Q. How many?

A. l guess it depends on how you count,

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but l would say four others

Q. So that would be all of them?

A. Yes.

Q. Has AlG paid to settle on behalf of
any policyholder/2

A. l don't know of my personal
knowledge

Q. Do you have any information that AlG
has paid to settle with the lRS on behalf of
any policyholder?

A. l believe that they have

Q. How many?

A. One, that l’m aware of.

Q. And did AlG pay in that circumstance
before the Put was exercised?

A. Before the Put was exercised? l
don't believe so.

Q. Did AlD pay before the redemption?

A. l don't think so.

Q. Did AlG commit to pay before the
redemption in that case?

A. l -- again l don't think so. l'm
not, at this point, recalling what the time

sequence was, and when the redemption in that

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Burke
case occurred

Cl. Who did you work with on that case?

A. l'm sorry. "Who" meaning?

Q. What personnel with AlG did you work
with on that case?

A. Rob Jones

MR. KUSHNER: Afamiliar name, l
assume?
MR. WAHLQU|ST: lt is now.
lVlR. KUSHNER: lt was yesterday.
MR. WAHLQUlST; Yeah, this week.
BY MR. WAHLQU|ST:

Q. How about William Cotter with
Peabody and Arnold? Did you work with him on
that case?

A. Yes.

Q. Can you name that insured for us?

A. The one that they paid on was, let
me think. What it was - it was Clement
Pappas.

Q. Did they pay their policy limits?

A. ldon't know for sure, but l think
so.

Q. Wasn't SC squared the last of the
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Burke
tax strategies sold by KPMG to be investigated
by the Senate?

A. l don't know what the sequence was.

Q. Wasn't SC squared -- didn't it
involve the smallest number of taxpayers of all
the matters investigated by the senate?

A. l think that*s correct

Q. Some of the others, like Son of Boss
had approximately 3,500 taxpayers, right?

A. Right.

Q. And if l understand your testimony
from earlier today, so far as you know, the |RS
could still prosecute KPMG with respect to SC
squared, right?

A. As far as l know, yes.

Q. And is it true that the deferred
prosecution agreement essentially put KPMG out
of this business?

A. l would think so, yes.

Q What is a tax shelter?

A. l don't know,

Q When you used that term today, did
you have a meaning ascribed to that?

A. lt is a transaction that either

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Burke

generates |osses, or you know, reduces income
So it has a pejorative, you know, connotation
these days that -- which is why l try to stay
away from the concept but -~ and certainly,
there were the tax shelters of the early '803
which, you know. were syndicated real estate
deals.

There were certainly ones -- there
were ones there that there was a sheltered a
lot of income, but there were no grounds for
the |RS to attack them. Nowadays, it means
something that-- structured transactions,
which l think are the blips, and the sons of
bosses, and the other transactions that were
mass marketed, primarily by the accounting
tirms.

Q. Don't most tax shelters have some
technical merit?

A. You know, some tax shelters are
airtight and absolutely work, and no one would
suggest otherwise Others have some pure
technical merit and l think if you look at
nothing except the individual steps taken, that

each one is governed by a statute, or

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regulation, or something that said by itself,
it would work, So if that's what you mean by
technical merit, they do. Usually have, you
know, without stepping back and looking at the
landscape, they usually do "work" under the
fine print of the tax rules,

Q. That's what makes them a tax
shelter, right?

A. l'm not sure l understand

Q. Otherwise, it would be tax fraud.
You would just be making something up?

A. Yes.

Q. Like a phony transaction?

A. Right. Yes, it is certainly what
saves it from being tax fraud.

Q. You know, l mean a transaction that
never took place, that's tax fraud?

A. That would be tax fraud.

Q. Tax shelter is a transaction that
avoids or reduces taxes, and it has some
technical merit, right?

A. Correct.

Q. And some of those shelters still

lose, notwithstanding their technical merit,

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Burke
right?
A. That's correct
Q. When did you first become involved
in the administration of Upper Deck's and
Mr. McWilliam's claims for policy benefits in
connection with A|G's policy?

MR. KUSHNER: l object to the
words --

CHAlRMAN BYRNE: Take out -- what do
you mean by "administration"?

MR. WAHLQU|ST: He worked on this
claim.

CHAlRMAN BYRNE: When did you become
involved and in what capacity with the
Upper Deck/AlG?

THE WlTNESS: l don't know exactly
when the involvement with Upper Deck. l
was retained by AlG or AlSLlC in
connection with all of their insureds in
early summer of 2004. l think l may be
off by a little bit, but it was right
around there

BY MR. WAHLQU|ST:

Q. And was there somebody that you
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supplanted or replaced in that role?

A. Well, as l understand it, AlG was
originally represented by Cahill Gordon in the
insurance claim area, who was supplanted by
Bill Cotter of Peabody & Amold.

Peabody &Arnold did not have the
in~house tax expertise so to have someone who
could help them with the tax side, Bill
suggested and AlSLlC ultimately retained me to,
in essence, assist Mr. Cotter in - you know,
on the technical tax side

Q. And in that role, did you have
connection with Upper Deck's -- excuse me. ln
that ro|e, did you have communications with
Upper Deck's tax counsel?

A. Yes.

Q. Who was that?

A. Paul Sa)< originally at Orrick, and
then l think when they moved to --the name
escapes me now.

Q. DeCastro?

A. DeCastro, yes, relatively little
involvement with DeCastro. l had a great deal

of involvement with Paul Sax.

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Burke

Q. Are you aware of a single submission
made by Mr. Sax to the |RS without your prior
approve?

A. After my involvement, | mean ldo
think he submitted some things before l was
involved So that l can't speak to. l vaguely
recall there may be something that he retained
claiming privilege

Q. That was submitted to the |RS?

A. l believe so,

Q. On the whole, did you -- well, l
mean --

MR. KUSHNER: He hasn't completed
his answer perhaps

Q. -- l’m sorry. | didn’t mean to cut
you off? Have you completed your answer? l
thought you had. The last thing in the world l
want to do is cut you off.

A. l have completed my answer.

Q. Did you ind Mr. Sa)< to be
cooperative with you?

A. Yes.

Q. Did you, during the time you worked

on this claim, give AlG or its insurance

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counsel, Mr. Cotter, opinions with respect to
the viability of the generic SC squared
transaction?
A. Yes.
Q. What did you tell them?
MR. KUSHNER: Objection. lt's
attorney/client advice
MR. WAHLQU|ST: lt's a legitimate
inquiry, He has come in here, and he has
already testified and given a legal
opinion. And what they are trying to do
is sweep the candid advice --
CHAlRMAN BYRNE: Ah, ah, ah. He has
given a tax opinion. He has given an
opinion with respect to the viability of
certain transactions vis-a-vis the tax
code, regs, and how courts would interpret
the regs, et cetera, vis-a-vis
particular -- this particular transaction
and the generic SC squared.
To the extent that he was retained
by a client to give a legal opinion with
respect to any claim, lwould like to

identify the client, see if there was a

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Burke
waiverl or otherwise, really have no
choice but to uphold the privilege,
certainly at this stage

MR. KUSHNER: May l make a
statement?

CHAlRMAN BYRNE: lf there is certain
information, i.e, nonprivileged
information that Mr. Burke or any other
witness has, go ahead. But when you are
at the point of legal advice to a
particular client, the escape clause
narrows drastically. You may still get
out from under it, but the inquiry has to
be very plaintive. l'm just framing the
basis of the ruling -- wait one second.

Go ahead.

MR. KUSHNER: Thank you. Upper Deck
moved to compel A|SLle production of all
documents in its privileged log which were
either addressed to, copied tol prepared
by --

CHAlRMAN BYRNE: l know. l ruled.

MR. KUSHNER: ~Mr. Burke, The

panel's ruling dated October 2 was --
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CHAlRMAN BYRNE: You can ask
Mr. Burke about particular documents that
you are interested in, and we will
determine whether or not those particular
documents specifically involved legal
advice to a client, and then we go through
the inquiry,

MR. WAHLQU|ST: Let me confer with
my colleaguejust a minute

CHAlRMAN BYRNE: Okayl you confer
with your colleagues and we are going to
have a quick consultation cutside, also.

(Recess taken.)

CHAlRMAN BYRNE: You, Mr. Burke,
keep my rulings in mind whenever you
answer a question, okay?

THE WlTNESS: (Nodding.)

CHAlRMAN BYRNE: Go ahead.

BY MR. WAHLQU|ST:

Q. Mr. Burke, did you give advice to
AlG respecting the Clement Pappas SC squared
transaction?

A. Ves.

Q. Was that tax advice?

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Burke

A. Yes.

Q. Did it pertain to the viability of
the .generic SC squared transaction?

A. Yes.

Q. Was the Clement Pappas transaction a
generic SC squared transaction?

A. As far as l know, yes

Q. Did AlG pay its limits to settle the
Clement Pappas claim?

A. l don't know for sure

Q. Did AlG pay to settle the Clement
Pappas claim?

A. l believe they did, but you know, my
job was to render tax advice. l didn't get
involved in all the --

CHAlRMAN BYRNE: Stop there ls Rob

Jones -- would Rob Jones know the answer

to this?

MR. KUSHNER: Oh, yes, he wi|l.
CHAlRMAN BYRNE: Fine.
BY MR. WAHLQU|ST:

Q. Was your advice with respect to the

Clement Pappas transaction contrary to that,

that you have given iri this proceeding?

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MR. KUSHNER: l'm going to object on
attorney/client grounds
CHAlRMAN BYRNE: t am going to

overrule that objection. lt calls for a

"Yes" or "No" answer.

A. Could you repeat the question?

(Record read.)

A. No.

BY MR. WAHLQU|ST:

Q. Was your advice with respect to any
of the SC squared transactions regarding the
viability of the generic SC squared transaction
consistent with what you have stated as your
opinion in these proceedings?

MR. KUSHNER: Objection on
attorney/client grounds

CHAlRMAN BYRNE: Overruled, calls
for a "Yes" or "No" answer.

A. My advice was consistent with what l
had in my report and said today.

Q. Have you -- with respect to any of
the five SC squared claims that you have been
involved in, ever rendered an opinion that the

generic SC squared transaction would likely not

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Burke
survive judicial scrutiny?

MR. KUSHNER: Objection.
Attorney/client grounds

CHAlRMAN BYRNE: You can answer. lt
calls for a "Yes" or "No."

A. No.

MR. WAHLQU|ST: l only have one copy
of this, but we can make copies at the
break. l'm marking as Exhibit 389, an
abstract of AlG's privilege logs, which
identify the documents that have Mr. Burke
designated as a recipient or as the
author, and l would like to hand that to
Mr. Burke if l may?

(Respondent AlG Exhibit 389, AlG
Privilege Logs, marked for
identification.)

CHAlRMAN BYRNE: All right. You are
not going to go through the whole list,
right?

MR. WAHLQU|ST: No, l promise you l
will not do that.

CHAlRMAN BYRNE: Okay. What --

where are we? What do you want to ask
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him?

ll/lR, WAHLQU|ST: l want to know if he
reviewed any of that in the course of
coming to the opinions that he expressed
here?

CHAlRMAN BYRNE: Okay.

THE W|TNESS: l did not review them

in connection with my report l mean l

obviously saw them when l got them. So l

can't pretend like l never seen them, but

we went over these, you know, a week ago
to see whether there was anything in them
that l had relied upon in giving my
testimony or in my report, and what l was
anticipating in my testimony, and there
was nothing l relied on in them.

BY lVlR. WAHLQU|ST:

Q. ls there anything in any of those
writings pertaining to the tax viability of any
SC squared transaction?

A. Yes.

Q. Can you identify any of those for
us?

A. l can't from the list.

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Burke

Q. The material that is in writing
pertaining to the viability of an SC squared
transaction, was that written by you?

A. Substantially, nor

Q. Why do you qualify your answer?

A. There were certain correspondence
here where people were suggesting tax analysis,
where l would respond to it, but that was not
many of these transactions -- not many of these
documents and so there was mostly my -- you
know my advice was limited substantially to
responses to other peoples' inquiries

Q. Did you consider that suggested tax
analysis in coming to your conclusions about
the viability of the SC squared transaction?

A. Did l consider it, yes.

Q. Did you disregard it in coming to
your conclusions?

A. l believe so.

Q. Was it all wrong?

A. A fair amount of it, yes

Q. So did you accept part of the
suggested analysis in coming to your

conclusions with respect to the SC squared

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transactions?
A. My analysis was based on my
analysis
CHAlRMAN BYRNE: So it's not a
question of accepting someone else's
analysis and making it your own? ls that
the distinction you are trying to ~-
THE W|TNESS: Correct.
CHAlRMAN BYRNE: |f someone else's
analysis was consistent with your own, so
be it?
THE WlTNESS: Correct.
BY MR. WAHLQU|ST:
Q. Did you see an analysis inconsistent
with your analysis?
A. Sometimes, yes.
Q. From whom?
MRA KUSHNER: l object.
CHAlRMAN BYRNE: That one is
problematic because l don't know where it
came from, don't know if the author was a
lawyer, don‘t know if he got a copy under
a joint defense privilege all of which

they have to go into. You want to do

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Burke

generically did it come from lawyers or

crack pots, which isn't going to get you

too far. Did it come from tax advisors
from -- did it come from tax advisors
retained by and with respect to the ive
transactions that, he can answer "Yes" or

"No." Yes or no, and we can go from there

by eliminating the other ones.

MR. WAHLQU|ST: We|l, let me try to
ask that then.
CHAlRMAN BYRNE: Okay.
BY MR. WAHLQU|ST:

Q. Mr. Burkel did the analysis that you
reviewed that appears somewhere in the
documents identified on E)<hibit 389, did any of
it come from tax advisors pertaining to any of
the participants in the five SC squared
transactions in which you were involved?

A. l do not believe so.

Q. Did it come from your client?

A. Some of it, yes

Q. Did some of it not come from your
client?

Ar Yes.
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Q. From whom did it come?

CHAlRMAN BYRNE: You can answer that
one if you are excluding your client lf
you are excluding counsel for someone
else's client in ajoint defense posture,

l think we have done most of the

exclusions You can answer that question

"Yes" or "No."

A. l'm not sure which way the question
was phrased. Does it exhibit -

CHAlRMAN BYRNE: Okay. Yes, you --
my understanding is you said yes, you
received - l will rephrase it.

Did you receive communications
concerning tax advice from other than your
client, attorneys representing your
client, attorneys representing any client
involved in the SC squared transactions
that may have a joint defense privilege
with your client?

THE W|TNESS: The answer to that is
no.

CHAlRMAN BYRNE: What class did l

not exclude that that came fro -- that the

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Burke
other communications came from? And l
don't mean your or my law school class

THE W|TNESS: l'm not sure there is
anyone who wasn't included in that class
that l gave tax advice in these documents

CHAlRMAN BYRNE: All right. Hang on
for a second. We need to take a minute

(Recess taken.)

CHAlRMAN BYRNE: Over my strenuous
objection over the break ~- and l don't
mean the lunch break, you are to designate
those items on the privilege list that you
really are hot to trot to see, and l don't
want to hear all 12 pages of which because
l have looked at them, and a lot of them
is duplicative Okay?

Next week -- by the end of next
week, l want overnighted to me those
documents with proposed redactions. ln
other words, don't redact them, what you
want to redact will be marked iri yellow so
that when you copy it, it comes out black
and is redacted, but l will approve the

redactions and what is being given.

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l don't care what's asked for. lf
it doesn't have to do with tax advice
related to SC squared generic or SC
squared transactions -- and by that, l
mean yourtax advice, Mr. Burke, l don‘t
mean anybody else's tax advice Okay?

THEWlTNESS: Um-hum.

CHAlRMAN BYRNE: That is what l
expect to see in those documents
unredacted. Are we cleai”? lf you are not
clear, take a look at the transcript when
you get it on Monday because that's about
as clear as l'm going to make it.

MR. WAHLQU|ST: Could l ask forjust
one more clarity, and that is when exactly
do you want designations? You said over
the break and not the lunch break?

CHAlRMAN BYRNE: You have got a long
flight.

MR. WAHLQU|ST: Okay. That's -~ not
today. That's what l meant

CHAlRMAN BYRNE: l regret you are
likely going to have to sit next to your

partner on the way home, but you can ~-

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Burke

MR. WAHLQU|ST: He gets the middle
seat

MR. HOWELL: l'm not in coach. l'm
up front, don't worry.

CHAlRMAN BYRNE: You can begin the
process then, and it will behoove you to
get it by e-mail or whatever Monday.
E-mail a copy to him. E-mail a copy to
me, even if it's]ust the same privilege
list, a .PDF with marks l mean l don't
care how you do it. Okay. You guys have
four days or so to do what you got to do.
Okay?

l will make my rulingsl give what
directives l have to give from wherever
l'm going to be the Monday or Tuesday of
the following week, and then l expect them
out in time for our next session at the
end of the month.

l am not-- l am reserving the right
to require that any follow-up questions
you may have, Mr. Burke may do -~ may
answer by much other than live testimony,

l will think about telephone call. l'm
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2 more likely to permit him to give a letter
3 or an affirmation in response to follow-up
4 questions from you, okay?

5 MR. WAHLQU|ST: Okay.

6 CHAlRMAN BYRNE: Anything else?
7 MR. WAHLQU|ST: ldon't think so.
8 MR. KUSHNER: l have no questions
9 CHAlRMAN BYRNE: We are adjourned
10 for lunch. Mr. Burke, thank you very

11 much.

12 (Luncheon recess taken at

13 12:50 p.m.)

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STATE OF NEW YORK )
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COUNTY OF RICHMOND )

1, MELISSA GILMORE, a Notary Public
within and for the State of New York, do hereby
certify that the within is a true and accurate
transcript of the proceedings taken on
october 13, 2006.

1 further certify that 1 am not
related to any of the parties to this action by
blood or marriage; and that 1 am in no way
interested in the outcome of this matter.

1N W1TNESS WHEREOF, 1 have hereunto

Set my hand this 16th day of October, 2006

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lMELISSA cILMoRE

 

 

iiiari "// 1?AGEL§;

